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              IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF IOWA

Christopher (Bruce) The Living Man
Elizabeth (Bruce) the living woman                                            Case #4-18-cv-40
                Plaintiffs
v.                                                                            Motion to Dismiss Parties

Polk County Attorney’s Office et al
       Defendants



         Christopher (Bruce) the living man and Elizabeth the Living Woman, do grant these the
defendants their dismissals: For the Polk County Attorney’s offices: The Polk County Attorney’s office,
Defendants Brown, Brownell, Lane, Bell, and Ramirez. For the State of Iowa: The Attorney General’s
office, The Department of Human Services, and Defendants White, Rhinehart, Gosch, Nieman, Dugdale,
Miller-Todd, Price, Kelly, Egly, Blink, Vaudt and Hurn. Also, the plaintiffs ask that The Altoona Police
Department; The City of Carroll Police Department, and Defendant Lancaster also be dismissed.

          The plaintiffs also ask that the case progress against Children and Families of Iowa, Ashley
Andrews (now Cronbaugh); Anthony Reed, Gary Bellinghausen, Dale Mays, Katherine (Beth) Walker, and
Lucas Taylor. The plaintiffs intend to begin a whole new civil suit for the dismissed parties, naming them
in their individual capacities. The plaintiffs ask to keep Defendant John P. Sarcone on as well, for no
other purpose than to have the motion for permanent injunction granted.



Christopher, the Living Man                                           Date:_________________________



Elizabeth, the Living Woman.                                          Date:_________________________




                                           Proof of Service
  The undersigned certifies that the foregoing instrument was served upon each of the persons identified as
   receiving a copy by delivery in the following manner on the ________ day of __________________, 2018:

                                             U.S. Mail and Fax.



                  _______________________________________________
                                        Christopher, The Living Man
